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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                                           )     Case No. 20-14853-JGR
                                                 )
Happy Beavers, LLC,                              )     Chapter 11
EIN: XX-XXXXXXX                                  )
                                                 )
                                                 )
                               Debtor.           )

                     RESPONSE TO MOTION TO PROHIBIT USE OF CASH
                                   COLLATERAL


         Debtor and Debtor-in-Possession, Happy Beavers, LLC, by and through counsel Gerald

Jorgensen of Jorgensen, Brownell & Pepin, hereby files their response to Creditor Great Western

Bank’s Motion to Prohibit Use of Cash Collateral filed on August 4, 2020, and in support thereof

states as follows:

            1.        Debtor files contemporaneously herewith a Motion for Authority to Use Cash

Collateral (hereinafter “Motion”) which requests the Court allow the Debtor to use cash collateral

on an interim and final basis while providing adequate protection for the Debtor’s use of cash

collateral to the secured creditor’s interest.

            2.        Approval of the Motion is necessary to prevent immediate harm to the Estate

and to allow the debtor to continue operating the business, which will protect the creditor’s interest

by ensuring there are sufficient funds to pay creditors through the Chapter 11 bankruptcy plan.

            3.        If the Debtor is ordered to cease the spending of proceeds from the prepetition

inventory and accounts receivable and to cease the use of rent and income generated by the

property, the Debtor will be unable to continue to operate the business. Happy Beavers, LLC

receives income through rental payments from Gunsmoke, LLC. These funds are used to pay

professional fees, payments on notes, taxes and maintenance. Gunsmoke, LLC and Armed
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  Beavers, LLC receive income through cash sales and accounts receivable. These funds are used to

  pay all the expenses associated with operating the business.

             4.       If the Debtor is prohibited from using any cash collateral, the Debtor will be

  unable to continue operating the business and generating revenue. This would be detrimental for

  the creditors; if business operations cease there will be no income to pay the creditors. The purpose

  of the Chapter 11 reorganization is to allow the Debtor in Possession to continue to operate their

  business while also creating a plan which will allow the Debtor to pay creditors.

       WHEREFORE, the Debtor and Debtor in Possession respectfully requests the Court DENY

Great Western Bank’s Motion to Prohibit Use of Cash Collateral filed on August 4, 2020, and

GRANT the Debtors Motion for Authority to Use Cash Collateral filed contemporaneously herewith.


Dated: August 17, 2020

                                                        Respectfully submitted,


                                                        By: /s/ Gerald L. Jorgensen
                                                        Gerald L. Jorgensen #18855
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2020, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system and/or via e-mail to the following address:

Alison Goldenberg
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U.S. Trustee

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